                                    UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF LOUISIANA
                                           ALEXANDRIA DIVISION

IN RE: BOBBY RAY COLLINS                                                                  CASE NO. 19-80017

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                   APPLICATION FOR APPOINTMENT OF REALTOR AND BROKER
                          AND APPROVAL OF COMPENSATION AND EXPENSES
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          NOW INTO COURT, comes the Trustee of the above named estate, who respectfully

represents that:

                                                               1.

         In the administration of the estate of the aforesaid debtors it is necessary and in the best

interest of the estate to employ a realtor/broker to assist in the disposal of certain real estate

found in this estate.

                                                               2.

         Mover desires to retain the firm of RITCHIE REAL ESTATE as a realtor and broker to

assist him in the marketing of immovable property in the administration of this estate; mover

believes the firm to be well qualified to act as realtor and broker in this matter, and shows that the

firm includes Matthew Ritchie who holds a “CCIM” (Certified Commercial Investment Member)

designation and that the members and agents are licensed to act as realtors and brokers and

qualified with prior experience in cases of this character; and, further shows that the firm is willing

to perform the necessary services at the standard rate of commission in the industry in this area.

                                                               3.

         Mover shows that the firm of Ritchie Real Estate and its members and agents are

“disinterested” and do not hold or represent an interest adverse to the estate nor has it served as

an examiner in this case; additionally, the firm agrees that it will not while employed by applicant

represent a creditor in connection with the case; finally, he shows that approval of its employment

as realtor and broker will be in the best interest of this estate.




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                                                    4.

        Mover also shows that the firm proposed to serve as realtor and broker has not been

previously employed by said debtors or any person having an interest adverse to said debtors or

any of the creditors of said debtors or any other party in interest, their respective attorney and

accountants, the Office of the United States Trustee, or any person connected with or employed

by the Office of the United States Trustee.

                                                    5.

        The employment of the firm of Ritchie Real Estate will be of benefit to the estate since it

will result in the sale of real estate found in the estate for a price that is in keeping with its value in

an expeditious fashion.

                                                    6.

        The normal compensation for services of a realtor and a broker in this community for

marketing and selling similar property is routinely fixed at six (6%) per cent of the gross sales

price, together with expenses of the sale. Mover shows that the same is fair and reasonable and

has been approved previously by this court in similar cases.

                                                    7.

        It is therefore appropriate that the same compensation package be approved at the time of

appointment in order to avoid additional, unnecessary filings in this matter. Payment of this

amount should be authorized to be paid by the trustee at this time, without further notice and at

the time the proceeds of the sale are received, as the same is a fixed percentage of the sale and

can be easily determined. In the event the actual expenses exceed the amount authorized to be

paid pursuant to the local rules of this court mover will seek authority to pay the same by separate

application.



        WHEREFORE, APPLICANT PRAYS that he be authorized to employ and appoint the firm




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of RITCHIE REAL ESTATE, as realtor and broker for the estate and that he be authorized to

make payment of six per cent (6%) of the gross sales proceeds of the sale upon receipt of the

same, without further notice, together with all reasonable expenses of the sale pursuant to the

local rules of this court.



                                                     /S/ THOMAS R. WILLSON_______
                                                     THOMAS R. WILLSON
                                                     TRUSTEE IN BANKRUPTCY
                                                     1330 JACKSON STREET
                                                     ALEXANDRIA, LOUISIANA 71301
                                                     TEL. 318-442-8658



                                          CERTIFICATE

        I HEREBY CERTIFY that a copy of the above and foregoing application has been mailed

to the Office of the U.S. Trustee, on the 28th day of February, 2019.




                                              __/S/ THOMAS R. WILLSON_____
                                              THOMAS R. WILLSON




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                                    UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF LOUISIANA
                                           ALEXANDRIA DIVISION

IN RE: BOBBY RAY COLLINS                                                                  CASE NO. 19-80017

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                         SWORN DECLARATION UNDER PENALTY OF PERJURY
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STATE OF LOUISIANA

PARISH OF RAPIDES

          Now comes Teri B. Strickland, who appears on behalf of the firm of Ritchie Real Estate,

and swears under penalty of perjury that she is authorized to act on behalf of the firm of Ritchie

Real Estate, is a member of the firm and an agent associated with the firm, that the allegations

contained in the foregoing application are true and correct, and that she is a qualified realtor,

licensed to practice in the State of Louisiana. She further stated that she and the members and

agents of the firm are disinterested persons and neither hold nor represent any adverse interest to

the estate, and that the firm and its members and agents have not served as an examiner in this

case nor have they or it been previously employed by debtors or any person having an interest

adverse to the debtors or any of the creditors of said debtors or any other party in interest, their

respective attorney and accountants, the Office of the United States Trustee, or any person

connected with or employed by the Office of the United States Trustee. Affiant further states that

the firm and its members and agents shall not, while employed by the Applicant, represent any

creditor in connection with this case. She further stated that she has authority to and does execute

this act in her individual capacity and as a representative of the firm of Ritchie Real Estate.

         SIGNED UNDER PENALTY OF PERJURY, this 28th day of February, 2019, at

Alexandria, Louisiana.

                                                  ___/S/ TERI B. STRICKLAND__
                                                     TERI B. STRICKLAND




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